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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
The National Coalition Against     )
Violent Athletes,                  )
                                   )
          Plaintiff,               )
                                   )               Civil Action
v.                                 )               No. 17-12043-PBS
                                   )
Department of Education et al.,    )
                                   )
          Defendants.              )
______________________________     )


                        MEMORANDUM AND ORDER

                           December 3, 2020

Saris, D.J.

    Plaintiff Nation Coalition Against Violent Athletes

(“NCAVA”) brings this action against the Department of Education

(“DOE”) and Betsy DeVos, in her official capacity as Secretary

of Education. Plaintiff alleges that guidance documents issued

by DOE in 2017 violate Title IX, the Administrative Procedure

Act (“APA”) and the Constitution. Defendants contend that the

complaint should be dismissed because (1) plaintiff lacks

standing; (2) venue is improper; (3) plaintiff is challenging a

non-final agency action and is asserting claims for which there

is an adequate alternative remedy; and (4) plaintiff is

asserting a variety of constitutional claims that are

unsubstantiated and unsupported by law.

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     Defendants’ motion to dismiss the Second Amended Complaint

(Docket No. 91) is ALLOWED. Defendants’ second motion to dismiss

(Docket No. 108) is DENIED as moot.

I.   BACKGROUND

     A.   Factual Background

     Title IX provides, “No person in the United States shall,

on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial

assistance.” 20 U.S.C. § 1681(a). Congress modeled Title IX on

Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§ 2000d et seq., which prohibits discrimination on the basis of

race, color, or national origin in programs or activities that

receive federal funds. Cannon v. Univ. of Chi., 441 U.S. 677,

694 (1979).

     There are two mechanisms for ensuring compliance with Title

IX. First, individuals injured by discriminatory practices can

sue recipients of federal funds directly. See Cannon, 441 U.S.

at 717. Second, the Department of Education (“DOE”) may “issu[e]

rules, regulations, or orders of general applicability” to

effectuate Title IX. 20 U.S.C. § 1682.

     On September 22, 2018, DOE issued a “Q and A on Campus

Sexual Misconduct” (the “DeVos Rules”) and a Dear Colleague

Letter which rescinded previous DOE guidance documents

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explaining DOE’s enforcement of Title IX. Among other changes,

the DeVos Rules permit educational programs to apply either a

“clear and convincing” standard of proof or a “preponderance of

the evidence” standard of proof in the redress of sex-based

harms covered by Title IX. The DeVos Rules also permit

educational programs to apply criminal law definitions of

offenses as opposed to the civil rights definitions of offenses

in the response to and determination of sex-based harms covered

by Title IX. The DeVos Rules are limited to sex-based harms and

apply generally to all educational programs that receive federal

funds.

    This past spring, DOE published a final rule titled

Nondiscrimination on the Basis of Sex in Education Programs or

Activities Receiving Federal Financial Assistance, 85 Fed. Reg.

30,026 (May 19, 2020) (“Final Rule”). That rule became effective

on August 14, 2020 and supersedes prior guidance, including the

DeVos Rules. See id. at 30,535.

    Shortly after the Final Rule became effective, DOE formally

rescinded the DeVos Rules. See Rescinded Policy Guidance, Office

for Civil Rights (Aug. 26, 2020),

https://www2.ed.gov/about/offices/list/ocr/frontpage/faq/rr/poli

cyguidance/respolicy.html. Accordingly, DOE will no longer

consider the DeVos Rules in evaluating sexual harassment

allegations that occur after the Final Rule’s effective date,

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August 14, 2020. See Letter from Office for Civil Rights to

Educators and Stakeholders (Aug. 26, 2020),

https://www2.ed.gov/policy/gen/guid/fr-200826-letter.pdf.

However, the letter cited above states that “to the extent that

[the DeVos Rules are] helpful to recipients for appropriately

responding to sexual harassment that allegedly occurred prior to

August 14, 2020, they will remain accessible on the Department’s

website”.    Id.

     B.     Procedural Background

     The original plaintiffs in this case, Equal Means Equal,

Jane Doe, Mary Doe, and Susan Doe, commenced this action by

filing a complaint on October 19, 2017. At that time, all three

Does had pending cases before DOE’s Office of Civil Rights

(“OCR”).1 On September 24, 2018, the Court granted Plaintiffs’

first motion for leave to amend the complaint, which added NCAVA

as a plaintiff.

     The Court dismissed the first amended complaint on March

18, 2020 for failure to establish Article III standing.

     On April 21, 2020, the Court granted NCAVA’s motion for

leave to file the Second Amended Complaint (“SAC”). The SAC

alleges that NCAVA is a national 501(c)(3) organization whose

mission is to advocate for the equal treatment of victims of


1 Currently, only Jane Doe’s complaint remains pending before
OCR. It has been pending for over four years.
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sex-based harms under civil rights laws, such as Title IX, and

related laws.

      On June 24, 2020, Defendants moved to dismiss the SAC for

lack of standing, improper venue and failure to state a claim.

The Court held oral argument on August 6, 2020. On August 28,

2020, this Court granted NCAVA leave to file supplemental facts

on standing. On September 29, 2020, Defendants filed a second

Motion to Dismiss for Lack of Jurisdiction. On October 13, 2020,

Plaintiff opposed.

II.   LEGAL STANDARD

      On a motion to dismiss for lack of subject matter

jurisdiction made pursuant to Fed. R. Civ. P. 12(b)(1), “the

party invoking the jurisdiction of a federal court carries the

burden of proving its existence.” Murphy v. United States, 45

F.3d 520, 522 (1st Cir. 1995) (quoting Taber Partners, I v.

Merit Builders, Inc., 987 F.2d 57, 60 (1st Cir. 1993)). When

ruling on a 12(b)(1) motion the court “must credit the

plaintiff’s well-[pleaded] factual allegations and draw all

reasonable inferences in the plaintiff’s favor.” Merlonghi v.

United States, 620 F.3d 50, 54 (1st Cir. 2010).

      In analyzing whether a complaint states a claim sufficient

to satisfy Rule 12(b)(6), the Court must set aside any

statements that are merely conclusory and examine only the

pleader’s factual allegations. See Ashcroft v. Iqbal, 556 U.S.

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662, 679 (2009). “When there are well-pleaded factual

allegations, a court should assume their veracity and then

determine whether they plausibly give rise to an entitlement to

relief.” Id. “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 678.

III. DISCUSSION

     A.   Standing

     Defendants argue that NCAVA lacks Article III standing

because (1) it is a defunct organization, and (2) the

allegations of organizational injury are vague and conclusory.

     Standing is a threshold question in every case; “[i]f a

party lacks standing to bring a matter before the court, the

court lacks jurisdiction to decide the merits of the underlying

case.” United States v. AVX Corp., 962 F.2d 108, 113 (1st Cir.

1992).

            i. NCAVA’s Organizational Status

     Defendants contend that NCAVA is a defunct organization

that has been superseded by a separate organization called the

WeLEAD Project, and therefore it has no Article III standing.

NCAVA responds that, since March 2020, it has been in the

process of undergoing a name change to WeLEAD, which is

registered with the IRS as an AKA of NCAVA. NCAVA has also

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submitted additional facts about its organizational structure

and its current operations.2 Although Defendants correctly point

out that NCAVA has not submitted any documentation in support of

these representations, NCAVA has submitted enough at this

pleading stage to establish itself as a currently operational

organization.

           ii. Allegations of Organizational Injury

     To satisfy the case-or-controversy requirement of Article

III of the United States Constitution, plaintiff bears the

burden of establishing that it (1) has suffered an “injury in

fact” that is “concrete and particularized” and “actual or

imminent”; (2) that the injury is “‘fairly traceable’ to the

actions of the defendant”; and (3) that the injury will likely

be redressed by a favorable decision. Bennett v. Spear, 520 U.S.

154, 162, 167 (1997) (quoting Lujan v. Defenders of Wildlife,

504 U.S. 555, 560-61 (1992)); see also Katz v. Pershing, LLC,

672 F.3d 64, 71 (1st Cir. 2012). Those elements must be proved

“with the manner and degree of evidence required at the

successive stages of the litigation.” Lujan, 504 U.S. at 561.

     This Court has previously ruled that NCAVA does not have

associational standing because it does not have members but



2 Although Plaintiff’s Supplemental Facts on Standing (Docket No.
111) were not filed under oath, Defendants have not objected to
the Court’s reliance on them.
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allowed NCAVA to amend its complaint with more detail regarding

its claim of organizational standing. NCAVA having done so and

having filed Supplemental Facts regarding its organizational

status, the Court now considers NCAVA’s assertion of

organizational standing anew.

    The Supreme Court has held that an advocacy organization

may achieve standing if its mission has been “frustrated” by the

challenged conduct and it has expended resources to combat it.

See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982).

However, the Supreme Court has also held that simply expending

resources based on an anticipated harm is not enough to

establish standing. See Clapper v. Amnesty Int’l USA, 568 U.S.

398, 416 (2013).

    In Havens Realty, the Supreme Court considered whether

HOME, a nonprofit corporation “whose purpose was to make equal

opportunity in housing a reality in the Richmond Metropolitan

Area,” had standing to sue a realty company and one of its

employees for racial discrimination. 455 U.S. at 367–68

(internal quotation marks omitted). In finding that HOME had

alleged sufficient injury to establish direct organizational

standing, the Supreme Court stated:

    If, as broadly alleged, petitioners’ steering practices
    have perceptibly impaired HOME’s ability to provide
    counseling and referral services for low-and moderate-
    income homeseekers, there can be no question that the
    organization has suffered injury in fact. Such concrete and

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     demonstrable injury to the organization’s activities—with
     the consequent drain on the organization’s resources—
     constitutes far more than simply a setback to the
     organization’s abstract social interests, see Sierra Club
     v. Morton, 405 U.S. 727, 739 (1972).

Id. at 379.

     According to the SAC, NCAVA is

     a national 501(c)(3) non-profit organization . . . whose
     sole mission is to advocate for the equal treatment of
     victims of sex-based harms under civil rights laws. . . .
     NCAVA provides legal referrals, counsel and advocacy to
     victims of sex-based harms.

Docket No. 87 ¶ 50. Plaintiff alleges that the DeVos Rules

     disfavor clients of NCAVA and frustrate NCAVA’s mission by
     subjecting sex-based harms to different treatment, thus
     making findings of responsibility for sex-based harms less
     likely compared to findings of responsibility for other
     civil rights harms.

Id. ¶ 55. Plaintiff further alleges that the DeVos Rules have

“required the diversion of NCAVA’s resources and ha[ve] frustrated

its efforts.” Id. ¶ 53. However, the analysis does not end here.

     To establish Article III standing, an injury must be

“concrete, particularized, and actual or imminent; fairly

traceable to the challenged action; and redressable by a

favorable ruling.” Monsanto Co. v. Geertson Seed Farms, 561 U.S.

139, 149 (2010).

     In Clapper, several groups and individuals challenged a new

provision of the Foreign Intelligence Surveillance Act (FISA)

which authorized government electronic surveillance of non-U.S.

persons outside the U.S. for foreign intelligence purposes. 568

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U.S. 398. These groups alleged that the new provision would

force them to take costly measures to ensure the confidentiality

of their international communications. The Supreme Court held

that the groups did not have standing because they could not

“demonstrate that the future injury they purportedly fear[ed]

[was] certainly impending.” Id. at 422. There was no evidence

that the Government would target the communications to which the

groups were party and use the new provision to do so.

Furthermore, any costs that the groups incurred to protect their

communications were not fairly traceable to the new provision,

as the harm was not certainly impending.

    The SAC sufficiently pleads frustration of NCAVA’s

organizational mission and diversion of resources to establish

standing. In fact, the allegations contained in the SAC closely

track the allegations in SurvJustice Inc. v. DeVos, No. 18-CV-

00535-JSC, 2018 WL 4770741, at *7 (N.D. Cal. Oct. 1, 2018),

amended on reconsideration, 2019 WL 1434144 (N.D. Cal. Mar. 29,

2019), upon which Plaintiff relies. For example, the SAC alleges

the following:

    1. NCAVA has had to “raise and dedicate additional donations
       that were specifically spent to assist clients seeking
       legal help” as a result of the DeVos Rules. Docket No.
       87 at ¶ 53.

    2. NCAVA “has seen a surge in the number of clients and
       members seeking help, whose need for assistance is a
       direct result of the Devos Rules.” Id.


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    3. NCAVA has “diverted substantial resources conducting
       additional research, advocacy, training, education, and
       other similar programs because of the DeVos Rules . . .
       and divert[ed] substantial resources in the form of
       advocacy to deal with increased demand for redress at
       campus grievance hearings, and at the OCR.” Id.

    4. NCAVA has noted that “victims have expressed an
       unwillingness to report sex-based harm to campus
       authorities and law enforcement officials.” Id. ¶ 54.

These allegations are sufficiently particularized to establish

Article III standing.

    B.    Venue

    Venue is proper in suits against the agencies of the United

States in any judicial district in which the plaintiff resides,

a defendant in the action resides, or a substantial part of the

events or omissions giving rise to the claim occurred. 28 U.S.C.

§ 1391(e)(1). Under 28 U.S.C. § 1391, venue may be proper in

more than one district. See Astro-Med, Inc. v. Nihon Kohden Am.,

Inc., 591 F.3d 1, 12 (1st Cir. 2009); Uffner v. La Reunion

Francaise, S.A., 244 F.3d 38, 42 (1st Cir. 2001).         The Court

need only determine whether venue is proper in Massachusetts,

not whether Massachusetts is the “best” venue. Astro–Med, 591

F.3d at 12.

    Defendants argue that venue is no longer proper in

Massachusetts, because the plaintiffs included in the original

complaint with ties to Massachusetts have been dismissed from

the action. Plaintiff responds that venue is proper because a


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“substantial part of the events or omissions giving rise to the

claim occurred” in Massachusetts. See 28 U.S.C. § 1391(e)(1).

Plaintiff makes the sweeping claim that because the DeVos Rules

cause injury to all women, and because women reside in all

states, jurisdiction is appropriate everywhere.

    When considering whether a “substantial part of the events

occurred” in Massachusetts, the First Circuit “look[s] not to a

single triggering event prompting the action, but to the entire

sequence of events underlying the claim.” Astro-Med, 591 F.3d at

12 (quotation marks, internal citations and citations to quoted

case omitted).

    Here, Defendants are correct that the original plaintiffs

with the greatest ties to Massachusetts have been dismissed.

However, Defendants’ assertion that venue for NCAVA’s claims

would be proper only in Colorado where NCAVA resides, or in

Washington, D.C. where the Department resides and where it

issued the challenged guidance, is overly restrictive. NCAVA

submits that it advocated and continues to advocate on behalf of

Jane Doe and Mary Doe in their cases arising out of conduct that

occurred on university campuses in Massachusetts. As those cases

constitute a “substantial part of the events” underlying

Plaintiff’s claims, venue is also appropriate in Massachusetts

under 28 U.S.C. § 1391(e)(1).



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    C.    Mootness

    “Under Article III of the Constitution [federal courts] may

only adjudicate actual, ongoing controversies.” Honig v. Doe,

484 U.S. 305, 317 (1988). In their Second Motion to Dismiss the

SAC, Defendants contend that this case is moot because the DeVos

Rules have been rescinded, and therefore it must be dismissed.

Plaintiff responds that the case is not moot because the

recently promulgated regulations are not retroactive. Therefore,

the DeVos rules will continue to affect matters pending before

OCR before the DeVos Rules were rescinded.

    Challenges to government regulatory schemes which have

expired or been effectively repealed are generally moot. See New

England Reg’l Council of Carpenters v. Kinton, 284 F.3d 9, 18

(1st Cir. 2002). When a plaintiff “seeks only injunctive and

declaratory relief, not damages[,] . . . it would be pointless

either to enjoin the enforcement of a regulation that is no

longer in effect or to declare its constitutional status.” Id.

    Here, Plaintiff seeks injunctive and declaratory relief

from a guidance document which has been officially rescinded and

replaced. It would seem that the prospective relief requested

has already been satisfied.

    However, the answer may not be so simple. Although the

DeVos Rules have been rescinded and replaced by newly

promulgated rules, these rules only affect allegations of sexual

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harassment that occur after August 14, 2020. Even though the

DeVos Rules have been officially rescinded, DOE has implicitly

acknowledged that they may remain applicable to complaints of

sexual harassment that allegedly occurred prior to August 14,

2020. See Letter from Office for Civil Rights to Educators and

Stakeholders (Aug. 26, 2020),

https://www2.ed.gov/policy/gen/guid/fr-200826-letter.pdf. During

this Court’s hearing on August 6, 2020, Defendants acknowledged

that it was “ambiguous” whether OCR would apply the DeVos Rules

to allegations of sexual assault that occurred prior to August

14, 2020.

    Defendants attempt to circumvent this ambiguity by arguing

that, given its request for prospective relief, NCAVA cannot be

affected by events that occurred prior to August 14, 2020.

However, this may not be so. NCAVA’s allegations of injury

include that it has been frustrated in its mission to represent

individuals before OCR such as Jane Doe, whose case predates the

newly promulgated rules and to whom the DeVos Rules may still

apply. Defendants have not attested to whether OCR will in fact

apply the DeVos Rules to cases such as Jane Doe’s, or whether

the DeVos Rules have truly been rescinded and therefore will be

given no legal significance. In the absence of such an

attestation, NCAVA has made sufficient claims of an ongoing case

in controversy.

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    D.    Substantive Claims under Rule 12(b)(6)

    The SAC alleges that the DeVos Rules violate every possible

provision of the Administrative Procedures Act (“APA”) as well

various Constitutional amendments. Defendants contend that the

DeVos Rules are not subject to judicial review under the APA nor

do they violate the Constitution, and therefore they must be

dismissed under Rule 12(b)(6) for failure to state a claim.

            i. Counts I-V: APA Claims

    The APA allows courts to review certain agency action and

set the action aside if they find it unlawful. See 5 U.S.C.

§ 706. Only “agency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a

court are subject to judicial review.” Id. § 704. Since no

statute specifically permits review of the DeVos Rules, the

Court may review the designation only if it constitutes final

agency action.

                   1. Final Agency Action

    To qualify as final, the action “must mark the consummation

of the agency’s decisionmaking process” and either determine

rights or obligations or trigger legal consequences. U.S. Army

Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813 (2016)

(quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)). In

other words, the action must “conclusively determine[ ] the

rights and obligations of the parties with respect to the

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matters at issue.” Berkshire Envtl. Action Team, Inc. v. Tenn.

Gas Pipeline Co., 851 F.3d 105, 111 (1st Cir. 2017) (quoting

Rhode Island v. EPA, 378 F.3d 19, 23 (1st Cir. 2004)). The

possibility of an agency appeal prevents a decision from being

final when the decision automatically triggers further agency

review according to statute or regulation. See Global Tower

Assets, LLC v. Town of Rome, 810 F.3d 77, 86 (1st Cir. 2016).

    Defendants contend that the DeVos Rules are not final

agency action because they do not conclusively determine the

parties’ rights and obligations. Defendants rely on the

reasoning of ServJustice, which dismissed a similar challenge

under the APA because “legal consequences continue to flow only

from a school’s noncompliance with Title IX and its implementing

regulations,” and “the guidance merely provides ‘information’

for schools regarding how the Department’s Office [for] Civil

Rights will assess compliance with those existing laws.” 2018 WL

4770741, at *10.

    However, the claims here differ from those at issue in

ServJustice. In ServJustice, the plaintiffs argued that the

DeVos Rules determined schools’ obligations. Here, NCAVA asserts

that the DeVos Rules determine individuals’ rights who challenge

their schools’ handling of sexual harassment allegations before

OCR. The court in ServJustice concluded that schools were only

required to comply with Title IX, and whether or not they

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amended their policies in response to DOE’s interpretation of

Title IX as articulated by the DeVos Rules was a voluntary

choice from which no legal consequences would flow. By contrast,

here, Plaintiff alleges that by applying the DeVos Rules to

cases pending before OCR, OCR is making final, legal

determinations regarding individuals’ rights in sexual

harassment cases.

    For example, prior to the issuance of the DeVos Rules, if

OCR considered a challenge to a school’s determination in a

sexual harassment case which was reached using the

“preponderance of the evidence standard,” the school would be

found to be non-compliant with Title IX. However, after the

issuance of the DeVos Rules, according to the allegations in the

SAC, the school would be found to be compliant. Thus, the DeVos

Rules constitute final agency action, because they conclusively

determine the legal rights and obligations of individuals who

challenge their school’s determination of sexual harassment

claims before OCR.

                    2. Alternative Remedy

    In addition to showing that the DeVos Rules constitute

final agency action, Plaintiff must establish that there is no

adequate alternative remedy in court. The remedy suggested by

Defendants is private suit against the schools, and the Court

agrees.

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     The Supreme Court has held that two remedies are available

to those challenging schools’ discriminatory practices under

Title IX: a public remedy and a private remedy. Cannon, 441 U.S.

at 706–08. The public remedy is to terminate federal financial

support for institutions engaged in discriminatory practices.

Id. at 704. This can be done by filing a grievance with OCR

which, upon a determination of noncompliance, will attempt to

obtain compliance from the school voluntarily before terminating

funds. See § 902 of Title IX, 20 U.S.C. § 1682. The private

remedy is for an individual to prosecute his or her own suit

against the school in order to obtain an individual form of

relief. Cannon, 441 U.S. at 705-706.

     Here, the question is whether, when a party believes that

the public remedy is unavailable due to DOE’s changing

guidelines regarding enforcement of Title IX, the existence of a

private remedy prohibits that party from pursuing the public

remedy under the APA.

     The D.C. Circuit has previously held that APA claims

against DOE are barred by the availability of a private cause of

action against universities that discriminate in violation of

Title IX. Nat'l Wrestling Coaches Ass’n v. Dep’t of Educ., 383

F.3d 1047, 1047-48 (D.C. Cir. 2004).3 In Nat’l Wrestling Coaches,


3 The court in ServJustice considered the reasoning in Nat’l
Wrestling Coaches when determining whether an alternative remedy
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the appellants challenged a Dear Colleague Letter in which OCR

clarified its interpretation of Title IX and DOE regulations as

they applied to intercollegiate athletics. The appellants

“consistently maintained that, in subscribing to Department of

Education enforcement policy interpretations, the universities

have themselves adopted unlawful policies and engaged in

unlawful activities.” Id. at 1048. The court denied appellants’

petition for rehearing “because appellants [had] a private cause

of action directly against the universities to seek redress for

any proscribed acts of sex discrimination committed by the

universities.” Id. (citing as controlling the court’s decision

in Washington Legal Foundation v. Alexander, 984 F.2d 483 (D.C.

Cir. 1993)). Therefore, appellants’ action against the




exists to challenge the DeVos Rules but ultimately found it to
be unpersuasive. SurvJustice Inc. v. DeVos, No. 18-CV-00535-JSC,
2019 WL 1434144, at *6-7 (N.D. Cal. Mar. 29, 2019). Instead, the
court in ServJustice agreed with the dissent in Nat’l Wrestling
Coaches “in that it distinguishes ‘. . . kindred cases [in
which] the agency was accused only of failing to stop or
penalize illegal behavior by educational institutions,’ and
notes that ‘by contrast, the agency [here] is charged with
bullying those institutions into adopting unlawful practices.’”
Id. at *7 (citing Nat’l Wrestling Coaches Ass'n, 383 F.3d at
1051. This Court declines to follow that line of reasoning, as
here DOE is not “bullying” schools into following any set of
rules or adopting a particular standard of proof. Rather, the
DeVos Rules expand the options available to schools in
developing their responses to students’ Title IX claims. If
students believe their schools have chosen the “wrong” option,
they maintain the right to sue the schools directly in federal
court.
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Department was “barred under 5 U.S.C. § 704” based on the

existence of an adequate remedy. Id.

    Section 704 reflects Congress’s intent that “the general

grant of review in the APA [not] duplicate existing procedures

for review of agency action.” Bowen v. Massachusetts, 487 U.S.

879, 903 (1988). The alternative remedy need not be as effective

as an APA lawsuit against the regulatory agency; it need only be

“adequate.” See Garcia v. Vilsack, 563 F.3d 519, 525 (D.C. Cir.

2009); see also De La Garza Gutierrez v. Pompeo, 741 F. App’x

994, 998 (5th Cir. 2018); Pregis Corp. v. Kappos, 700 F.3d 1348,

1360 (Fed. Cir. 2012). The D.C. Circuit has acknowledged this

tension, stating that even though

    [s]uits directly against the discriminating entities may be
    more arduous, and less effective in providing systemic
    relief, than continuing judicial oversight of federal
    government enforcement[,] . . . under our precedent,
    situation-specific litigation affords an adequate, even if
    imperfect, remedy.

Women’s Equity Action League v. Cavazos, 906 F.2d 742, 751 (D.C.

Cir. 1990). Here, an adequate, if imperfect, remedy exists in

the form of private action against the schools. Accordingly,

Plaintiff is barred from bringing a claim under the APA due to

the existence of an alternate adequate remedy, and Counts I-V

will be dismissed.




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           ii. Count VI: First Amendment Claim

     This Court has previously dismissed Plaintiff’s First

Amendment claim for lack of standing.

          iii. Count VII: Title IX Claim

     Plaintiff argues that Title IX creates an implied right of

action against the government in its capacity as regulator.

However, generally the appropriate remedy to challenge agency

action, if available, is the APA. See Cousins v. Sec’y of the

U.S. Dep’t of Transp., 880 F.2d 603, 605 (1st Cir. 1989) (en

banc) (Breyer, J.). Plaintiff has cited no cases or statutory

sections to show why its Title IX claim falls outside the rubric

of the APA. Moreover, the Fourth Circuit, citing the Supreme

Court’s analysis of Title IX in Cannon, 441 U.S. at 703, has

explicitly found that there is no private right of action

against federal agencies under Title VI, upon which Title IX was

patterned. Jersey Heights Neighborhood Ass'n v. Glendening, 174

F.3d 180, 191 (4th Cir. 1999).4 Under these facts, this Court

agrees with the reasoning of Cannon and Jersey Heights, and

accordingly Count VII will be dismissed.


4 But see Cobb v. U.S. Dep't of Educ. Office for Civil Rights,
487 F. Supp. 2d 1049, 1054 (D. Minn. 2007) (holding that there
is a private right of action against OCR where OCR itself
fosters discriminatory behavior). The court in Cobb was
confronted with a specific decision by OCR which was found to be
discriminatory. Here, Plaintiff has not put before the Court an
example of a determination by OCR that allegedly violates Title
IX, only Jane Doe’s still-pending complaint.
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             iv. Count VIII: Tenth Amendment Claim

    Congress may use its authority under the Spending Clause to

entice states to implement its policy objectives. South Dakota

v. Dole, 483 U.S. 203, 206–207 (1987). Plaintiff’s claim that

the DeVos Rules “violate the Tenth Amendment, exceed Congress’s

Article I powers, and run afoul of the Constitution’s principles

of federalism” is conclusory. Docket No. 87 ¶ 136. As this

challenge is “presented in a perfunctory and undeveloped

manner,” the Court will not consider it further. Carter's of New

Bedford, Inc. v. Nike, Inc., 790 F.3d 289, 293 (1st Cir. 2015)

(internal citations omitted). Accordingly, Count VIII will be

dismissed.

             v. Count IX: Spending Clause Claim

    Title IX is a valid exercise of Congress’s Spending Clause

authority. See generally Gebser v. Lago Vista Indep. Sch. Dist.,

524 U.S. 274, 287 (1998). Plaintiff’s claim that the DeVos Rules

require Massachusetts recipients of federal funding to violate

the Equal Protection Clause of the Massachusetts Constitution is

conclusory, and the Court will not consider it further. See

Carter's of New Bedford, Inc., 790 F.3d at 293. Accordingly,

Count IX will be dismissed.




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IV.   CONCLUSION

      For the foregoing reasons, Defendants’ Motion to Dismiss

(Docket No. 91) is ALLOWED. Defendants’ Second Motion to Dismiss

(Docket No. 108) is DENIED as moot.

SO ORDERED.



                                   /s/ PATTI B. SARIS
                                   Patti B. Saris
                                   United States District Judge




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